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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )             CASE NO. CR20-0092 JCC
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   ALYSHA JONES                         )
                                          )
12         Defendant.                     )
     ____________________________________ )
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     Offenses charged:
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        1. Conspiracy to Distribute Controlled Substances
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        2. Possession with Intent to Distribute Methamphetamine
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     Date of Detention Hearing:    October 13, 2021.
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            The Court, having conducted a detention hearing pursuant to 18 U.S.C. §3142(f) and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
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     that no condition or combination of conditions which defendant can meet will reasonably assure
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     the appearance of defendant as required and the safety of other persons and the community.
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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02         1.      Defendant has been charged with a drug offense, the maximum penalty of which

03 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

04 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

05         2.      Defendant poses a risk of flight based on her extensive history of failures to

06 appear, and an outstanding, active warrant. She has been charged with a ten-year mandatory

07 minimum offense, which provides an incentive to flee.           The Court notes discrepancies

08 regarding her employment history, and also notes reports of Defendant’s significant drug use

09 including heroin, pills and methamphetamine. Defendant is a danger to the community based

10 on the nature of the alleged offense involving a processing a significant amount of

11 methamphetamine, and a history of prior drug, possession of stolen property, and obstruction

12 convictions, and an outstanding charge for unlawful possession of a firearm.

13         3.      There does not appear to be any condition or combination of conditions that will

14 reasonably assure the defendant’s appearance at future Court hearings while addressing the

15 danger to other persons or the community.

16      It is therefore ORDERED:

17      1. Defendant shall be detained pending trial, and committed to the custody of the Attorney

18         General for confinement in a correction facility separate, to the extent practicable, from

19         persons awaiting or serving sentences or being held in custody pending appeal;

20      2. Defendant shall be afforded reasonable opportunity for private consultation with

21         counsel;

22      3. On order of the United States or on request of an attorney for the Government, the person



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01        in charge of the corrections facility in which defendant is confined shall deliver the

02        defendant to a United States Marshal for the purpose of an appearance in connection

03        with a court proceeding; and

04     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

05        for the defendant, to the United States Marshal, and to the United State Probation

06        Services Officer.

07     DATED this 13th day of October, 2021.

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10                                                     S. KATE VAUGHAN
                                                       United States Magistrate Judge
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